                           IN THE UNITED STATES DISTRICT COURT FOR

                                THE EASTERN DISTRICT OF WISCONSIN

                                                   )
JACK A. ROE,                                       )
                                                   )
                   Plaintiff,                      )
                                                   )
v                                                  )     Case Number
                                                   )
CITY OF PLYMOUTH, PLYMOUTH                         )
POLICE DEPARTMENT, JUSTIN                          )
DANIELS, and JOHN PRIMISING,                       )
                                                   )
                   Defendants.                     )
                                                   )

                                             COMPLAINT


         NOW COMES the Plaintiff, Jack A. Roe, by and through his attorneys, Hupy                 and

Abraham, S.C., by Todd R. Korb, brings this Original Complaint against the Defendants, City         of
Plymouth, Plymouth Police Department, Justin Daniels, and John Primising, and states to the Court

as   follows:

                                    JURISDICTION AND VENUE

         1.       That subject matter jurisdiction is proper pursuant to 28 U.S.C. g 1331 and 42

u.s.c. $ 1e83.

         2.       That this Court has supplemental jurisdiction over all other claims made within this

cause of action pursuant to 28 U.S.C. $ 1367.

         3.       That venue is present in this District pursuant to 28 U.S.C. g 1391(bX2).




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                                              PARTIES

        4.      That the Plaintiff, Jack A. Roe, is an adult resident of the City of Plymouth, County

of Sheboygan, Wisconsin, currently residing at228 North Milwaukee Street, Zip Code 53073.

        5.      That the Defendant, City of Plymouth, is a domestic, self-insured, corporate

municipal body, organized and existing under the laws of Wisconsin, with its principal place       of
business located at   l28 Smith Street, Plyn,outh, Wisconsin , Zip Code 53013; that legal process for

the Defendant, City of Plynouth, shall be served upon, Anna Voigt, Interim Plymouth City Clerk,

also located at 128 Smith Street, Plyrnouth, Wisconsin, Zip Code 53073; and that the Defendant,

City of Plymouth, is a named Defendant herein pursuant to the theory of vicarious liability,

including the doctrine of Respondeat Superior, in that it is liable for the actions of its employees,

agents, servants, representatives, and/or volunteers while      in the   course and scope    of their
employment andlor agency, herein, the Defendants, Pl5rmouth Police Department and its officers

Justin Daniels and John Primising.

       6.      Upon information and belief, the Defendant, City of Plymouth, is not only

individually liable for the claims detailed herein, but is also liable on the theory of corporate

relationship, control of, andlor successor liability, including but not limited to the Defendants,

Plymouth Police Department, Justin Daniels, and John Primising. Upon further information and

belief, City of Plynouth has successor liability for the negligence, actions, and omissions of the

Defendants, Plyrnouth Police Department, Justin Daniels, and John Primising.

       7.      That the Defendant, Plymouth Police Department, is a domestic, municipal law

enforcement agency, orgarrized and existing under the laws         of Wisconsin and the City of
Plymouth, with its principal place of business located at I28 Smith Street, Plymouth, Wisconsin,

Zip Code 53073;that legal process for the Defendant, Plynouth Police Department, shall be served



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upon Jeffrey G. Tauscheck, Chief        of Police, also located at 128 Smith       Street, Plyrnouth,

Wisconsin,Zip Code 53073; that the Defendant, Plymouth Police Department, is a governmental

agency, controlled andlor owned by the City of Plymouth; that the Defendant, Plymouth Police

Department, is a named Defendant herein pursuant to the theory of vicarious liability, including

the doctrine of Respondent Superior, in that   it is liable for the actions of its employees,   agents,

servants, representatives, andlor volunteers while in the course and scope of their emplolmrent

andlor agency herein, the Defendants, Plymouth Police Department Officers Justin Daniels and

John Primising; and that the Defendant, Plymouth Police Department, was employed and/or the

agent of the Defendant, City of Plymouth, at all times material hereto.

        8.      That the Defendant, Justin Daniels, upon information and belief, is an adult resident

of the City of Sheboygan Falls, County of Sheboygan, Wisconsin, currently residing at     ll40   Plank

Trail Lane, Apartment2T6, Zip Code 53085; that the Defendant, Justin Daniels, is being sued in

his individual capacity; and that the Defendant, Justin Daniels, at all times material hereto, acted

under the color of law and within the scope of his employment and,lor agency with the Defendant,

Plymouth Police Department, a governmental agency controlled andlor owned by the Defendant,

City of Plymouth, as an Officer of the Plymouth Police Department when engaging in the actions

as described hereinafter.

       9.       That the Defendant, John Primising, upon information and belief, is an adult

resident   of the City and County of   Sheboygan, Wisconsin, currently residing at 2208 Geele

Avenue, Zip Code 53083; that the Defendant, John Primising, is being sued in his individual

capacity; and that the Defendant, John Primising, at all times material hereto, acted under the color

of law and within the scope of his employment andlor agency with the Defendant, Plynouth Police

Department, a governmental agency controlled and/or owned by the Defendant, City of Plymouth,



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as an Officer of the Plymouth Police Department when engaging in the actions as described

hereinafter.

                                   F'IRST CAIIS        OF ACTION:

                                           -
                             42 U.S.C. E 1983   WFUL ARREST
                                  POLICE DEPAR
                                    AND.IOHN PRIMISING

        10.      That on or about March 2,2020, at3:04 p.m., the Plaintiff, Jack A. Roe, was present

on the premises of his personal residence, located at 228 North Milwaukee Street, Plymouth,

Wisconsin, Zip Code 5307 3.

        1   1.   That at the same time and place, the Defendants, Justin Daniels and John Primising,

while in the course and scope of their employment andlor agency with the Defendant, Plymouth

Police Department, and acting under the color of law, forcibly arrested the Plaintiff, Jack A. Roe,

without a warrant, thereby placing him in the custody of the Defendant, Plyrnouth Police

Department.

        12.      That the arrest of the Plaintiff, Jack A. Roe, was unlawful because its justification

lacked probable cause that a crime was being, or had been committed, as is required by the Fourth

and Fourteenth Amendments to the United States Constitution, thereby depriving the Plaintiff,

Jack A. Roe, of the protections provided therein.

        13.      That at all times material hereto, the Defendants, Justin Daniels and John Primising,

were acting under the color of law.

        14.      That the Defendant, Plyrnouth Police Department, is a named Defendant herein

pursuant to the theory of vicarious liability, including the doctrine of Respondeat Superior, inthat

it is liable for the acts of its employees, servants, agents, representatives, and/or volunteers, herein




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the Defendants, Justin Daniels and John Primising, while in the course and scope of their

employrnent andlor agency and while acting under the color of law.

             15.        That, upon information and belief the foregoing unlawful acts on the part of the

Defendants, Justin Daniels and John Primising, were committed while the Defendants, Justin

Daniels and John Primising, were acting in the course and scope of their emplolmrent andlor

agency with the Defendant, Plymouth Police Department; that the foregoing unlawful acts on the

part of the Defendant, Plymouth Police Department, were the direct and proximate cause of the

injuries and damages sustained by the Plaintiff Jack A. Roe, as set forth herein. Therefore, upon

information and belief the Defendant, Plymouth Police Department, is liable for the unlawful

conduct of the Defendants, Justin Daniels and John Primising, under the theory of vicarious

liability, including the doctrine of Respondeat Superior.

             16.        That 42 U.S.C. $ 1983 provides a civil cause of action for those who allege

constitutional violations perpetrated          by   state and municipal actors, and as such, provides

appropriate redress for the harm suffered by the Plaintiff, Jack A. Roe, at the hands of the named

Defendants.

            17   .     That as a result of the foregoing actions on the part of the named Defendants, the

Plaintiff, Jack A. Roe, sustained injuries to his body and suffered emotional distress; that he has

suffered pain and may continue to suffer pain for an indefinite time in the future; that he was

required to seek medical attention; that he may be required to seek additional and continued

medical attention in the future and to expend large sums of money for said medical attention; that

he suffered damages to his personal property that prevented him from using his personal property

for   a   period of time and may continue to prevent him from using it in the future; that he was unable

to maintain his employment for a period of time and may continue to be so restricted; and that he



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was unable to engage in his normal activities for a period of time, and may continue to be so

restricted, all to his damage

       WHEREFORE, the Plaintiff, Jack A. Roe, prays this Honorable Court:

        1.      That the Plaintiff, Jack A. Roe, have and recover judgment against the Defendants,

                Plymouth Police Department, Justin Daniels, and John Primising, in an amount in

                eXceSS   of FIVE HUNDRED AND TWENTY THOUSAND                              DOLLARS

                ($520,000.00) for personal injuries and violation of his Constitutional rights.

       2.       That the costs of this action be taxed against the Defendants.

       3.       For other and further relief as the Court may deem just and proper.

       4.       For the dismissal of any and all subrogation or reimbursement claims.

       5.       For any and all reasonable attorney's fees associated with this action.

                                SECOND CAUSE OF ACTION:

                           42 U.S.C. S 1983 _ UNLAWFUL ARREST
                                     CITY OF PLYMOUTH

        18.     As for a second cause of action, the Plaintiff repeats and realleges all of the

allegations contained previously herein, and incorporates the same by reference.

        19.     That on or about March 2,2020, at3:04 p.m., the Plaintiff Jack A. Roe, was present

on the premises of his personal residence, located at 228 North Milwaukee Street, Plymouth,

Wisconsin, Zip Code 53073.

       20.      That at the same time and place, the Defendants, Justin Daniels and John Primising,

while in the course and scope of their employment andlor agency with the Defendant, City of

Plymouth, and acting under the color of law, forcibly arrested the Plaintiff, Jack A. Roe, without

awarcant, thereby placing him in the custody of the Defendant, City of Plymouth.




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         21.     That the arrest of the Plaintiff, Jack A. Roe, was unlawful because its justification

lacked probable cause that a crime was being, or had been committed, as is required by the Fourth

and Fourteenth Amendments to the United States Constitution, thereby depriving the Plaintiff,

Jack   A. Roe, of the protections provided therein.

         22.     That the Defendant, City of Plymouth, has and/or had a custom, policy, pattern,

and/or practice of effectuating unlawful arrests that is andlor was persistent and widespread; that

this custom, policy, pattern, and/or practice was so commonplace to where it is andlor was the

Defendant, City of Plymouth's, operating procedure; that policy-making officials within the City

of Plymouth know and/or knew about these operating procedures and allow and/or allowed them

to continue; and that these operating procedures directly led to the deprivation of the Plaintiff, Jack

A. Roe's, tights   as provided   within the Fourth and Fourteenth Amendments to the United      States

Constitution.

         23.    That the Defendant, City of Plymouth, was at all times responsible for the acts and

omissions of its employees, servants, agents, representatives, and/or volunteers under the theory

of vicarious liability, including the doctrine of Respondeat Superior; and that the Defendant, City

of Plymouth, is also liable under the theory of corporate and/or successor liability, including but

not limited to the Defendants, Plymouth Police Department, Justin Daniels, and John Primising.

         24.    That, upon information and belief, the foregoing unlawful acts on the part of the

Defendants, Plymouth Police Department, Justin Daniels, and John Primising, were committed

while the Defendants, Pl5rmouth Police Department, Justin Daniels, and John Primising, were

acting in the course and scope of their employment andlor agency with the Defendant, City           of
Plymouth; and that the foregoing unlawful acts on the part of the Defendants, Plymouth Police

Department, Justin Daniels, and John Primising, were the direct and proximate cause ofthe injuries



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and damages sustained by the Plaintiff, Jack             A.   Roe, as set forth herein. Therefore, upon

information and belief, the Defendant, City of Plynouth, is liable for the unlawful conduct of the

Defendants, Plymouth Police Department, Justin Daniels, and John Primising, under the theory          of
vicarious liability, including the doctrine of Respondeat Superior.

            25.     That 42 U.S.C. $ 1983 provides a civil cause of action for those who allege

constitutional violations perpetrated        by state and municipal actors, and as such, provides
appropriate redress for the harm suffered by the Plaintiff, Jack A. Roe, at the hands of the named

Defendants.

            26.     That as a result of the foregoing actions on the part of the named Defendants, the

Plaintiff, Jack A. Roe, sustained injuries to his body and suffered emotional distress; that he has

suffered pain and may continue to suffer pain for an indefinite time in the future; that he was

required to seek medical attention; that he may be required to seek additional and continued

medical attention in the future and to expend large sums of money for said medical attention; that

he suffered damages to his personal property that prevented him from using his personal property

for   a   period of time and may continue to prevent him from using it in the future; that he was unable

to maintain his employment for a period of time and may continue to be so restricted; and that he

was unable to engage in his normal activities for a period of time, and may continue to be so

restricted, all to his damage.

            WHEREFORE, the Plaintiff, Jack A. Roe, prays this Honorable Court:

            1.      That the Plaintiff, Jack A. Roe, have and recover judgment against the Defendant,

                    City of PlSrmouth, in an amount in excess of FIVE HUNDRED AND TWENTY

                    THOUSAND DOLLARS ($520,000.00) for personal injuries and violation of his

                    Constitutional rights.



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          2.      That the costs of this action be taxed against the Defendants.

          -1      For other and further relief as the Court may deem just and proper.

          4.      For the dismissal of any and all subrogation or reimbursement claims.

          5       For any and all reasonable attorney's fees associated with this action.

                                    THIRD CAUSE OF ACTION

                         42 U.S.C. E 1983       USE
                                          EXCESSIVE FORCE
                                            -
                   PLYMOUT'H POLICE DEPARTMENT. JUSTIN DANIELS.
                               AND JOHN PRIMISING

          27.     As for the third cause of action, the Plaintiff repeats and realleges all of the

allegations contained previously herein, and incorporates the same by reference.

          28.     That on or about March 2,2020, at3:04 p.m., the Plaintiff, Jack A. Roe, was present

on the premises of his personal residence, located at 228 North Milwaukee Street, Plymouth,

Wisconsin, Zip Code 53073.

          29.     Thatatthe same time and place, the Defendants, Justin Daniels and John Primising,

while in the course and scope of their employment andlor agency with the Defendant, Plymouth

Police Department, and acting under the color of law, forcibly arrested the Plaintiff, Jack A. Roe,

without    a warrant.


       30.        That in the course of said atrest, the Defendants, Justin Daniels and John Primising,

used an excessive and/or unreasonable amount of force against the Plaintiff, Jack A. Roe.

       31.       That the excessive andlor unreasonable force subjected onto the Plaintiff, Jack A.

Roe, by the Defendants, Justin Daniels and John Primising, was a violation of the Fourth and

Fourteenth Amendments' protections from excessive and/or unreasonable searches and seizures,

and the substantive due process right of bodily integrity, thereby depriving him of the protections




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provided therein; and that as a resultant effect of this excessive force, the Plaintiff, John A. Roe,

suffered severe injuries.

        32.     That at all times material hereto, the Defendants, Justin Daniels and John Primising,

were acting under the color of law.

        33.     That the Defendant, Plymouth Police Department, is a named Defendant herein

pursuant to the theory of vicarious liability, including the doctrine of Respondeat Superior,inthat

it is liable for the acts of its employees, servants, agents, representatives, andlor volunteers, herein

the Defendants, Justin Daniels, and John Primising, while in the course and scope of their

employment and/or agency and while acting under the color of law.

        34.    That, upon information and belief, the foregoing unlawful acts on the part of the

Defendants, Justin Daniels and John Primising, were committed while the Defendants, Justin

Daniels and John Primising, were acting in the course and scope of their employment andlor

agency with the Defendant, Plymouth Police Department; and that the foregoing unlawful acts on

the part of the Defendants, Justin Daniels and John Primising, were the direct and proximate cause

of the injuries and damages sustained by the Plaintiff, Jack A. Roe, as set forth herein. Therefore,

upon information and belief, the Defendant, Plymouth Police Department, is liable for the unlawful

conduct of the Defendants, Justin Daniels and John Primising, under the theory of vicarious

liability, including the doctrine of Respondeat Superior.

       35.     That 42 U.S.C. $ 1983 provides a civil cause of action for those who allege

constitutional violations perpetrated    by   state and municipal actors, and as such, provides

appropriate redress for the harm suffered by the Plaintiff, Jack A. Roe, at the hands of the named

Defendants.




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            36.     That as a result of the foregoing actions on the part of the named Defendants, the

Plaintiff, Jack A. Roe, sustained injuries to his body and suffered emotional distress; that he has

suffered pain and may continue to suffer pain for an indefinite time in the future; that he was

required to seek medical attention; that he may be required to seek additional and continued

medical attention in the future and to expend large sums of money for said medical attention; that

he suffered damages to his personal property that prevented him from using his personal property

for   a   period of time and may continue to prevent him from using it in the future; that he was unable

to maintain his employment for a period of time and may continue to be so restricted; and that he

was unable to engage in his normal activities for a period of time, and may continue to be so

restricted, all to his damage.

            WHEREFORE, the Plaintiff, Jack A. Roe, prays this Honorable Court:

            1.      That the Plaintiff, Jack A. Roe, have and recover judgment against the Defendants,

                    Plyrnouth Police Department, Justin Daniels, and John Primising, in an amount in

                    eXceSS   of FIVE     HUNDRED AND TWENTY THOUSAND DOLLARS

                    ($520,000.00) for personal injuries and violation of his Constitutional rights.

            2.     That the costs of this action be taxed against the Defendants.

            3.     For other and further relief as the Court may deem just and proper.

            4.     For the dismissal of any and all subrogation or reimbursement claims.

            5.     For any and all reasonable attorney's fees associated with this action.

                                    FOURTH CAUSE OF ACTION:

                           42 U.S.C. 8 1983 _ USE OF EXCESSIVE FORCE
                                         CITY OF PLYMOUTH

            37.    As for the fourth cause of action, the Plaintiff requested and realleges all of the

allegations contained previously herein, and incorporates the same by reference.


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        38.     That on or about March 2,2020, at3:04 p.m., the Plaintiff, Jack A. Roe, was present

on the premises of his personal residence, located at 228 North Milwaukee Street, Plyrnouth,

Wisconsin, Zip Code 5307 3.

        39.     That at the same time and place, the Defendants, Justin Daniels and John Primising,

while in the course and scope of their emplolmrent and/or agency with the Defendant, Plymouth

Police Department, and acting under the color of law, forcibly arrested the Plaintiff, Jack A. Roe.

        40.     That in the course of said arrest, the Defendants, Justin Daniels and John Primising,

intentionally used an excessive and/or unreasonable amount of force against the Plaintiff, Jack A.

Roe.

        4L      That the excessive andlor unreasonable force subjected onto the Plaintiff, Jack A.

Roe, by the Defendants, Justin Daniels and John Primising, was a violation of the Fourth and

Fourteenth Amendments' protections from unreasonable searches and seizures, and the

substantive due process right ofbodily integrity, thereby depriving him of the protections provided

therein; and that as a resultant effect of this excessive and/or unreasonable force, the Plaintiff, Jack

A. Roe, suffered severe injuries.

        42.     That the Defendant, City of Pllmrouth, has andlor had a custom, policy, pattern,

andlor practice of intentionally subjecting arrestees to excessive andlor unreasonable amounts       of
force that is andlor was persistent and widespread; that this custom, policy, pattern, and/or practice

is and/or was so commonplace to where it was andlor the Defendant, City of Plymouth's, operating

procedure; that policy-making officials within the City of Plymouth know andlor knew about these

operating procedures and allow andlor allowed them           to continue; and that these operating
procedures directly led to the violation of the Plaintiff, Jack A. Roe's, rights as provided within

the Fourth and Fourteenth Amendments to the United States Constitution.



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        43.     That the Defendant, City of Plymouth, was at all times responsible for the acts and

omissions of its employees, servants, agents, representatives, and/or volunteers under the theory

of vicarious liability, including the    doctrine   of   Respondeat Superior, including herein the

Defendants, Plymouth Police Department, Justin Daniels, and John Primising; and that the

Defendant, City of Plymouth, is also liable under the theory of corporate andlor successor liability,

including but not limited to the Defendants, Plymouth Police Department, Justin Daniels, and John

Primising.

        44.     That, upon information and belief, the foregoing unlawful acts on the part of the

Defendants, Plymouth Police Department, Justin Daniels, and John Primising, were committed

while the Defendants, Plymouth Police Department, Justin Daniels, and John Primising, were

acting in the course and scope of their employrnent andlor agency with the Defendant, City             of
Plymouth; and that the foregoing unlawful acts on the part of the Defendants, Plymouth Police

Department, Justin Daniels, and John Primising, were the direct and proximate cause ofthe injuries

and damages sustained by the Plaintiff, Jack         A. Roe, as set forth herein. Therefore,        upon

information and belief the Defendant, City of Plymouth, is liable for the unlawful conduct of the

Defendants, Plymouth Police Department, Justin Daniels, and John Primising, under the theory           of
vicarious liability, including the doctrine of Respondeat Superior.

        45.     That 42 U.S.C.   $   1983 provides a     civil   cause   of action for   those who allege

constitutional violations perpetrated   by state and municipal actors, and as such, provides
appropriate redress for the harm suffered by the Plaintiff, Jack A. Roe, at the hands of the named

Defendants.

       46.      That as a result of the foregoing actions on the part of the named Defendants, the

Plaintiff, Jack A. Roe, sustained injuries to his body and suffered emotional distress; that he has



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suffered pain and may continue to suffer pain for an indefinite time in the future; that he was

required to seek medical attention; that he may be required to seek additional and continued

medical attention in the future and to expend large sums of money for said medical attention; that

he suffered damages to his personal property that prevented him from using his personal property

for   a   period of time and may continue to prevent him from using it in the future; that he was unable

to maintain his employment for a period of time and may continue to be so restricted; and that he

was unable to engage in his normal activities for a period of time, and may continue to be so

restricted, all to his damage.

            WHEREFORE, the Plaintiff, Jack A. Roe, prays this Honorable Court:

            l.      That the Plaintiff, Jack A. Roe, have and recover judgment against the Defendant,

                    City of Plymouth, in an amount in excess of FIVE HUNDRED AND TWENTY

                    THOUSAND DOLLARS ($520,000.00) for personal injuries and violation of his

                    Constitutional rights.

            2.      That the costs of this action be taxed against the Defendants.

            3.      For other and further relief as the Court may deem just and proper.

            4.      For the dismissal of any and all subrogation or reimbursement claims.

            5.      For any and all reasonable attorney's fees associated with this action.

                                       FIFTH CAUSE OF ACTION:

                                    NEGLIGENCE
                     PLYMOUTH POLICE DEPARTMENT. JUSTIN DANIELS.
                                AND JOHN PRIMISING

            47.     As for a fifth cause of action, the Plaintiff repeats and realleges all of the allegations

contained previously herein, and incorporates the same by reference.




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          48.      That on or about March 2,2020, at3:04 p.m., the Plaintiff, Jack A. Roe, was present

on the premises of his personal residence, located at 228 North Milwaukee Street, Plymouth,

Wisconsin, Zip Code 53073.

          49.      That at the same time and place, the Defendants, Justin Daniels and John Primising,

while in the course and scope of their employment with the Defendant, Plynouth Police

Department, and acting under the color of law, forcibly arrested the Plaintiff, Jack A. Roe, without

a warrant.


          50.     That in the course of the abovementioned acts, the Defendants, Justin Daniels and

John Primising, acted in a negligent manner by acting contrary to how reasonable police officers

would act in the given circumstances, thereby causing the injuries sustained by the Plaintiff, Jack

A. Roe,     as hereinafter described.


        51.       That the foregoing acts of negligence on the part of Defendants, Justin Daniels and

John Primising, were the direct and proximate cause of the injuries and damages sustained by the

Plaintiff    Jack A. Roe.

        52.       That the Defendant, Plymouth Police Department, is a named Defendant herein

pursuant to the theory of vicarious liability, including the doctrine of Respondeat Superior, inthat

it is liable for the acts of its employees, servants, agents, representatives, and/or volunteers, herein,

the Defendants, Justin Daniels and John Primising, while in the course and scope of their

employrnent andl or agency.

        53.       That, upon information and belief, the foregoing negligent acts on the part of the

Defendants, Justin Daniels and John Primising, were committed while the Defendants, Justin

Daniels and John Primising, were acting in the course and scope of their employment andlor

agency with the Defendant, Plymouth Police Department; and that the foregoing negligent acts on



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the part of the Defendants, Justin Daniels and John Primising, were the direct and proximate cause

of the injuries and damages sustained by the Plaintiff, Jack A. Roe, as set forth herein. Therefore,

upon information and belief, the Defendant, Plymouth Police Department, is liable for the

negligent conduct of the Defendants, Justin Daniels and John Primising, under the theory of

vicarious liability, including the doctrine of Respondeat Superior.

            54.     That at all times material hereto, the Defendants, Justin Daniels and John Primising,

were acting under the color of law.

            55.     That 28 U.S.C. $ 1367 allows for supplemental jurisdiction over all other claims

related the claim granting original jurisdiction, and as such, provides appropriate redress for the

harm suffered by the Plaintiff, Jack A. Roe, at the hands of the named Defendants' negligence.

            56.     That as a result of the foregoing negligent acts on the part of the named Defendants,

the Plaintiff, Jack A. Roe, sustained injuries to his body and suffered emotional distress; that he

has suffered pain and may continue to suffer pain for an indefinite time in the future; that he was

required to seek medical attention; that he may be required to seek additional and continued

medical attention in the future and to expend large sums of money for said medical attention; that

he suffered damages to his personal property that prevented him from using his personal property

for   a   period of time and may continue to prevent him from using it in the future; that he was unable

to maintain his employment for a period of time and may continue to be so restricted; and that he

was unable to engage in his normal activities for a period of time, and may continue to be so

restricted, all to his damage.

            WHEREFORE, the Plaintiff, Jack A. Roe, prays this Honorable Court:

            1.      That the Plaintiff, Jack A. Roe, have and recover judgment against the Defendants,

                    Plymouth Police Department, Justin Daniels, and John Primising, in an amount in



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                 EXCESS   Of FIVE HUNDRED AND TWENTY THOUSAND                              DOLLARS

                 ($520,000.00) for personal injuries and violation of his Constitutional rights.

          2      That the costs of this action be taxed against the Defendants.

          J      For other and further relief as the Court may deem just and proper.

          4      For the dismissal of any and all subrogation or reimbursement claims.

          5      For any and all reasonable attorney's fees associated with this action.

                                      SIXTH CAUSE OF ACTION:

                                           NEGLIGENCE
                                        CITY OF' YMOUTH

          57.    As for an sixth cause of action, the Plaintiff repeats and realleges all of the

allegations contained previously herein, and incorporates the same by reference.

          58.    That on or about March 2,2020, at3:04 p.m., the Plaintiff, Jack A. Roe, was present

on the premises of his personal residence, located at 228 North Milwaukee Street, Plyrnouth,

Wisconsin, Zip Code 53073.

          59.    That at the same time and place, the Defendants, Justin Daniels and John Primising,

while in the course and scope of their employment and/or agency with the Defendant, Plymouth

Police Department, and acting under the color of state law, forcibly arrested the Plaintiff, Jack A.

Roe, without a warrant.

       60.       That in the course of the abovementioned acts, the Defendants, Justin Daniels and

John Primising, acted in a negligent manner by acting contrary to how reasonable police officers

would act in the given circumstances, thereby causing the injuries sustained by the Plaintiff, Jack

A. Roe,   as hereinafter described.




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       6I.     That the foregoing acts of negligence on the part of the Defendants, Justin Daniels

and John Primising, were the direct and proximate cause of the injuries and damages sustained by

the Plaintiff, Jack A. Roe.

       62.     That the Defendant, City of Plymouth, has andlor had a custom, policy, pattern,

andlor practice of Police Officers acting in a negligent manner that is andlor was persistent and

widespread; that this custom, policy, pattern, andlor practice is and/or was so commonplace to

where it was and/or the Defendant, City of Plymouth's, operating procedure; that policy-making

officials within the City of Plymouth know and/or knew about these operating procedures and

allow and/or allowed them to continue; and that these operating procedures directly led to the

injuries sustained by the Plaintiff Jack A. Roe.

        63.    That the Defendant, City of Plymouth, is a named Defendant herein pursuant to the

theory of vicarious liability, including the doctrine of Respondeat Superior, in that it is liable for

the acts of its employees, servants, agents, representatives, andlor volunteers, herein, the

Defendants, Plymouth Police Department, Justin Daniels, and John Primising, while in the scope

of their emplo5rment or agency; and that the Defendant, City of Plymouth, is also liable under the

theory of corporate andlor successor liability for the malicious andlor conscious indifference

and/or intentional disregard of the Plaintiff, Jack A. Roe's, rights by the Defendants, Plyrnouth

Police Department, Justin Daniels, and John Primising.

       64.     That, upon information and belief the foregoing negligent acts on the part of the

Defendants, Plymouth Police Department, Justin Daniels, and John Primising, were committed

while the Defendants, Plyrnouth Police Department, Justin Daniels, and John Primising, were

acting in the course and scope of their employment andlor agency with the Defendant, City          of

Plymouth; and that the foregoing negligent acts on the part of the Defendants, Plymouth Police



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Department, Justin Daniels, and John Primising, were the direct and proximate cause ofthe injuries

and damages sustained by the Plaintiff, Jack              A. Roe, as set forth herein. Therefore,   upon

information and belief, the Defendant, City of Plymouth, is liable for the negligent conduct of the

Defendants, Plynouth Police Department, Justin Daniels, and John Primising, under the theory           of
vicarious liability, including the doctrine of Respondeat Superior.

            65.     That 28 U.S.C. $1367 allows for supplemental jurisdiction over all other claims

related to the claim granting original jurisdiction, and as such, provides appropriate redress for the

harm suffered by the Plaintiff, Jack A. Roe, at the hands of the named Defendants' negligence.

            66.     That as a result of the foregoing negligent acts on the part of the named Defendants,

the Plaintiff, Jack A. Roe, sustained injuries to his body and suffered emotional distress; that he

has suffered pain and may continue to suffer pain for an indefinite time in the future; that he was

required to seek medical attention; that he may be required to seek additional and continued

medical attention in the future and to expend large sums of money for said medical attention; that

he suffered damages to his personal property that prevented him from using his personal property

for   a   period of time and may continue to prevent him from using it in the future; that he was unable

to maintain his emplo5rment for a period of time and may continue to be so restricted; and that he

was unable to engage in his normal activities for a period of time, and may continue to be so

restricted, all to his damage.

            WHEREFORE, the Plaintiff, Jack A. Roe, prays this Honorable Court:

            l.      That the Plaintiff, Jack A. Roe, have and recover judgment against the Defendant,

                    City of Plymouth, in an amount in excess of FIVE HUNDRED AND TWENTY

                    THOUSAND DOLLARS ($520,000.00) for personal injuries and violation of his

                    Constitutional rights.



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        2.      That the costs of this action be taxed against the Defendants.

        3.      For other and further relief as the Court may deem just and proper.

        4.      For the dismissal of any and all subrogation or reimbursement claims.

        5.      For any and all reasonable attorney's fees associated with this action.

                                SEVENTH CAUSE OF ACTION:

                                   BATTERY
                 PLYMC}UTH POLICE DEPARTMENT. JUSTIN DANIELS.
                             AND JOHN PRIMISING

        67.     As for a seventh cause of action, the Plaintiff repeats and realleges all of the

allegations contained previously herein, and incorporates the same by reference.

        68.     That on or about March 2,2020, at3:04 p.m., the Plaintiff, Jack A. Roe, was present

on the premises of his personal residence, located at 228 North Milwaukee Street, Plymouth,

Wisconsin, Zip Code 53073.

        69.     That at the same time and place, the Defendants, Justin Daniels and John Primising,

while in the course and scope of their employment andlor agency with the Defendant, Plymouth

Police Department, and acting under the color of law, forcibly arrested the Plaintiff, Jack A. Roe,

without awanant; and that in the course of these actions, the Defendants, Justin Daniels and John

Primising, inflicted bodily harm, substantial bodily harm, andlor great bodily harm upon the

Plaintiff, Jack A. Roe, and intended to inflict said bodily harm, substantial bodily harm, andlor

great bodily harm onto him, thereby causing the injuries sustained by the   Plaintiff,   as hereinafter

described.

       70.      That at all times material hereto, the Plaintiff Jack A. Roe, did not consent to the

harm inflicted by the Defendants, Justin Daniels and Primising.




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         71.    That at all times material hereto, the Defendants, Justin Daniels and John Primising,

were acting under the color of law.

         72.    That the foregoing acts on the part of the Defendants, Justin Daniels and John

Primising, were the direct and proximate cause of the injuries and damages sustained by the

Plaintiff, Jack A. Roe.

         73.    That the Defendant, Plymouth Police Department, is a named Defendant herein

pursuant to the theory of vicarious liability, including the doctrine of Respondeat Superior, inthat

it is liable for the acts of its employees, servants, agents, representatives, and/or volunteers, herein,

the Defendants, Justin Daniels and John Primising, while in the course and scope of their

employment andl or agency.

         74.    That, upon information and belief the foregoing intentional acts on the part of the

Defendants, Justin Daniels and John Primising, were committed while the Defendants, Justin

Daniels and John Primising, were acting in the course and scope of their employment andlor

agency   with the Defendant, Pl}rmouth Police Department; and that the foregoing intentional        acts

on the part of the Defendants, Justin Daniels and John Primising, were the direct and proximate

cause of the injuries and damages sustained by the Plaintiff, Jack        A. Roe, as set forth herein.

Therefore, upon information and belief, the Defendant, Plymouth Police Department, is liable for

intentional conduct of the Defendants, Justin Daniels and John Primising, under the theory of

vicarious liability, including the doctrine of Respondeat Superior.

         75.   That28 U.S.C. $ 1367 allows for supplemental jurisdiction over all other claims

related to the claim granting original jurisdiction, and as such, provides appropriate redress for the

harm suffered by the Plaintiff, Jack A. Roe, at the hands of the named Defendants' battery.




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        76.    That as a result of the foregoing intentional acts on the part of the named

Defendants, the Plaintiff, Jack     A. Roe, sustained injuries to his body and suffered      emotional

distress; that he has suffered pain and may continue to suffer pain for an indefinite time in the

future; that he was required to seek medical attention; that he may be required to seek additional

and continued medical attention in the future and to expend large sums of money for said medical

attention; that he suffered damages to his personal property that prevented him from using his

personal property for a period of time and may continue to be so restricted; that he was unable to

maintain his emplolmrent for   a   period of time and may continue to be so restricted; and that he was

unable to engage in his normal activities for a period of time, and may continue to be so restricted,

all to his damage.

       WHEREFORE, the Plaintiff, Jack A. Roe, prays this Honorable Court:

        1.     That the Plaintiff, Jack A. Roe, have and recover judgment against the Defendants,

               Plymouth Police Department, Justin Daniels, and John Primising, in an amount in

               excess   of FIVE HUNDRED AND TWENTY THOUSAND                                DOLLARS

               ($520,000.00) for personal injuries and violation of his Constitutional rights.

       2.      That the costs of this action be taxed against the Defendants.

       3.      For other and further relief as the Court may deem just and proper.

       4.      For the dismissal of any and all subrogation or reimbursement claims.

       5.      For any and all reasonable attomey's fees associated with this action.

                                   EIGHTH CAUSE OF ACTION:

                                            BATTERY
                                       CITY OF PLYMOUTH

       77.     As for the eighth      oause   of action, the Plaintiff repeats and realleges all of the

allegations contained previously herein, and incorporates the same by reference.


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        78.     That on or about March 2,2020, at3:04 p.m., the Plaintiff, Jack A. Roe, was present

on the premises of his personal residence, located at 228 North Milwaukee Street, Plyrnouth,

Wisconsin, Zip Code 53073.

        79.     That at the same time and place, the Defendants, Justin Daniels and John Primising,

while in the course and scope of their employment andlor agency with the Defendant, Plymouth

Police Department, and acting under the color of law, forcibly arrested the Plaintiff, Jack A. Roe,

without awanant; and that in the course of these actions, the Defendants, Justin Daniels and John

Primising, inflicted bodily harm, substantial bodily harm, andlor great bodily harm upon the

Plaintiff, Jack A. Roe, and intended to inflict said bodily harm, substantial bodily harm, andlor

great bodily harm onto him, thereby causing the injuries sustained by the Plaintiff as hereinafter

described.

        80.     That at all times material hereto, the Plaintiff, Jack A. Roe, did not consent to the

harm inflicted by the named Defendants.

        81.     That the Defendant, City of Pl}rmouth, has and/or had a custom, policy, pattern

and/or practice of intentionally subjecting arrestees to bodily harm, substantial bodily harm, and/or

great bodily harm that is andlor was persistent and widespread; that this custom is and/or was so

commonplace to where      it was the Defendant, City of Plymouth's, operating procedure;    and that

policy-making officials within the City of Plymouth know andlor knew about these operating

procedures directly led to the injuries sustained by the Plaintiff, Jack A. Roe.

        82.     That the foregoing intentional acts on the part of the Defendants, Justin Daniels and

John Primising, were the direct and proximate cause of the injuries and damages sustained by the

Plaintiff, Jack A. Roe.




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        83.    That the Defendant, City of Pl5rrnouth, is a named Defendant, herein pursuant to

the theory of vicarious liability, including the doctrine of Respondeat Superior, in that it is liable

for the acts of its employees, servants, agents, representatives, andlor volunteers, herein, the

Defendants, Plymouth Police Department, Justin Daniels, and John Primising, while in the course

and scope of their employment or agency; and that the Defendant, City of Plymouth, is also liable

under the theory   of corporate and/or    successor   liability for the malicious andlor conscious

indifferenc e and/or intentional disregard, Jack A. Roe's, rights by the Defendants, Plymouth Police

Department, Justin Daniels, and John Primising.

        84.    That, upon information and belief, the foregoing intentional acts on the part of the

Defendants, Plymouth Police Department, Justin Daniels, and John Primising, were committed

while the Defendants, Plymouth Police Department, Justin Daniels, and John Primising, were

acting in the course and scope of their emplolnnent andlor agency with the Defendant, City         of

Plymouth; and that the foregoing intentional acts on the part of the Defendants, Plymouth Police

Department, Justin Daniels, and John Primising, were the direct and proximate cause ofthe injuries

and damages sustained by the Plaintiff, Jack       A. Roe, as set forth herein. Therefore,      upon

information and belief, the Defendant, City of Plymouth, is liable for the intentional conduct of

the Defendants, Plymouth Police Department, Justin Daniels, and John Primising, under the theory

of vicarious liability, including the doctrine of Respondeat Superior.

       85.     That 28 U.S.C. $ 1367 allows for supplemental jurisdiction over all other claims

related to the claim granting originaljurisdiction, and as such, provides appropriate redress for the

harm suffered by the Plaintiff, Jack A. Roe, at the hands of the named Defendants' battery.

       86.     That as a result of the foregoing intentional acts on the part of the named

Defendants, the Plaintiff, Jack   A. Roe, sustained injuries to his body and suffered      emotional



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distress; that he has suffered pain and may continue to suffer pain for an indefinite time in the

future; that he was required to seek medical attention; that he may be required to seek additional

and continued medical attention in the future and to expend large sums of money for said medical

attention; that he suffered damages to his personal property that prevented him from using it for a

period of time and may continue to be so restricted; that he was unable to maintain his employment

for period of time and may continue to be so restricted; and that he was unable to engage in his

normal activities for   a   period of time, and may continue to be so restricted, all to his damage.

       WHEREFORE, the Plaintiff, Jack A. Roe, prays this Honorable Court:

        1.     That the Plaintiff, Jack A. Roe, have and recover judgment against the Defendant,

               City of Plymouth, in an amount in excess of FIVE HUNDRED AND TWENTY

               THOUSAND DOLLARS ($520,000.00) for personal injuries and violation of his

               Constitutional rights.

       2.      That the costs of this action be taxed against the Defendants.

       3.      For other and further relief as the Court may deem just and proper.

       4.      For the dismissal of any and all subrogation or reimbursement claims.

       5.      For any and all reasonable attorney's fees associated with this action.

                                     NINTH CAUSE OF ACTION:

                                PUNITIVE DAMAGES
              CITY OF PLYMOUTH. PLYM UTH POLICE DEPARTMENT.
                      .II]STIN DANIEI,S. A JOHN PRIMISING

       87. As for a ninth cause of action, the Plaintiff repeats and realleges all of the
allegations contained previously herein, and incorporates the same by reference.

       88.     That the conduct          of the Defendants, City of       Plymouth, Pllmrouth Police

Department, Justin Daniels, and John Primising, was malicious andlor in conscious indifference



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andlor in intentional disregard of the rights of the Plaintiff Jack A. Roe, and performed willfully,

wantonly and with disregard and,lor conscious indifference of the Plaintiff s rights.

            89.      That the Defendant, City of Plymouth, was at all times responsible for the acts and

omissions of its employees, servants, agents, representatives, andlor volunteers under the theory

of vicarious liability, including the doctrine of        Respondeat Superior, including herein, the

Defendants, Plyrnouth Police Department, Justin Daniels, and John Primising; and that the

Defendant, City of Plymouth, is also liable under the theory of corporate andlor successor liability

for the malicious andlor conscious indifference andlor intentional disregard of the Plaintiff, Jack

A. Roe's, rights by the Defendants, Plymouth Police            Department, Justin Daniels, and John

Primising.

            90.     That as a result of the intentional and negligent acts on the part of the named

Defendants, the Plaintiff, Jack A. Roe, sustained severe injuries to his body and suffered emotional

distress; that he has suffered pain and may continue to suffer pain for an indefinite time in the

future; that he was required to seek medical attention; that he may be required to seek additional

and continued medical attention in the future and to expend large sums of money for said medical

attention; that he suffered damages to his personal property that prevented him from using it for a

period of time and may continue to be so restricted; that he was unable to maintain his employrnent

for   a   period of time and may continue to be so restricted; and that he was unable to engage in his

normal activities for a period of time, and may continue to be so restricted, all to his damage.

            WHEREFORE, the Plaintiff, Jack A. Roe, prays this Honorable Court:

            1.      That the Plaintiff, Jack A. Roe, have and recover judgment against the Defendants,

                    City of Plymouth, Plymouth Police Department, Justin Daniels, and John
                    Primising,   in an amount in    excess   of FIVE HUNDRED AND            TWENTY



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               TI{OUSAND DOLLARS ($520,000.00) for personal injuries and violation of his

               Constitutional rights.

      2.       That the costs of this action be taxed against the Defendants.

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               For other and further relief as the Court may deem just and proper.

      4.       For the dismissal of any and all subrogation or reimbursement claims.

      5.       Fol any and all reasonable attorney's fees associated with this action.

      6.       For punitive damages, r'ecoverable pursuant to Wis. Stat, $ 895.043, as the actions

               of the Defendants were performed maliciously and/or recklessly andlor knowingly

               and/or intentionally, and with callous disregard for the protected rights of the

               Plaintiff.

                                        JURY DEMAND

      PLEASE TAKB NOTICE that the Plaintiffhereby requests                a   trial by a jury of    12


      DATED at Milwaukee, Wisconsin, this            I   qit   day   of   Nq    u   r   wu"tr   ,2021.
                                                         I

                                                                HUPY AND ABRAHAM, S.C.
                                                                Attorneys for the Plaintiff,




                                                                By:
                                                                      Todd R.
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